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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                BID PROTEST

AMAZON WEB SERVICES, INC.,                      )
                                                )
               Plaintiff,                       )
                                                )
               v.                               )             No. 19-1796C
                                                )    (Judge Patricia E. Campbell-Smith)
THE UNITED STATES,                              )
                                                )
               Defendant,                       )

and

MICROSOFT CORPORATION,                          )

               Intervenor-defendant.            )

                    DEFENDANT’S RENEWED MOTION TO DISMISS,
                    IN PART, PLAINTIFF’S AMENDED COMPLAINT

       Pursuant to Rule 12(b)(6) of the Rules of the United States Court of Federal Claims

(RCFC), defendant, the United States, respectfully requests that this Court dismiss Count Four of

the amended complaint filed by plaintiff, Amazon Web Services, Inc. (AWS), because AWS has

waived the allegations contained therein.

       The central theme of AWS’s amended complaint is its allegation that President Trump

made public statements that tainted the Department of Defense’s (DoD) award of the Joint

Enterprise Defense Infrastructure (JEDI) procurement. AWS contends that negative statements

that the President expressed publicly in tweets about Amazon, AWS’s parent company, and

Jeff Bezos, Amazon’s chief executive, caused DoD evaluators, despite the absence of any

alleged contact directly between such evaluators and the President, to be biased against AWS in

the competition. AWS, however, was aware of all of the pleaded facts underlying these

allegations (along with the assumptions it draws from those facts) by early August, 2019, well
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before the contract was originally awarded to intervenor-defendant, Microsoft Corporation

(Microsoft), and even before final proposals were due. In Blue & Gold Fleet, L.P. v. United

States, 492 F.3d 1308 (Fed. Cir. 2007), the Court of Appeals for the Federal Circuit established a

waiver rule that prevents a party that has an opportunity to object to the terms of competition on

which a procurement is conducted to instead wait and see if it is selected for award and, only if is

it not selected, then pursue costly, after-the-fact litigation, perhaps armed with additional

information about its successful competitor. That is precisely the prohibited strategic gambit that

AWS is attempting with regard to its allegations of bias. As a consequence, these allegations are

waived and should be dismissed.

       Although the United States sought and was granted a voluntary remand to reconsider

technical aspects of the procurement unrelated to AWS’s bias allegations, neither this remand

nor the corrective actions taken by DoD pursuant thereto cured AWS’s waiver of its bias

allegations. In any event, AWS again waived any opportunity to raise such allegations by again

electing not to raise them before DoD reaffirmed its award decision. Rather than oppose the

remand and the corrective actions DoD elected to take on the basis that DoD officials were

biased against it or motivated by bad faith, improper influence, or conflicts of interest, AWS

failed to pursue any of these allegations prior to or during the remand in this Court, before the

agency, or in any other forum. Instead, after unsuccessfully opposing the remand on other

grounds, AWS participated fully in remand proceedings and corrective actions taken by DoD,

submitting multiple rounds of proposal revisions. The law did not permit AWS yet again to “roll

the dice,” wait and see if it was selected for award and, only if it was not selected, spring forward

to assert that DOD’s reevaluation was tainted by bias. Future briefing will explain why DoD’s


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expert evaluators were well within the considerable discretion the law affords them in

concluding that Microsoft proposed a superior technical solution that provided greater value to

DoD. But the Court should first dismiss AWS’s waived bias allegations because AWS was

aware of all the facts on which it bases these allegations well prior to both the original award and

prior to DoD reaffirming the award on remand, yet in both circumstances declined to raise these

allegations until after it learned that its proposal had been rejected.

                                    QUESTION PRESENTED

       Whether the allegations contained in Count Four of AWS’s amended complaint are

barred by the waiver rule established by the Federal Circuit in Blue & Gold Fleet, when AWS

was aware of the basis of its bias, bad faith, improper influence, and conflict of interest

allegations well before DoD’s October 2019 decision to award the JEDI contract to Microsoft,

and even before the close of the bidding process; had ample opportunity to bring its objections at

that time; and yet failed to do so. In the alternative, whether AWS waived a second opportunity

to raise its bias allegations, including any information it discovered subsequent to October 2019,

by not raising those allegations prior to or during the remand to DoD, and before DoD reaffirmed

its decision to award the JEDI contract to Microsoft.

                                  STATEMENT OF THE CASE

I.     Nature Of The Case

       AWS protests DoD’s decision to award its JEDI contract to Microsoft. JEDI is a contract

for cloud computing resources, including commercial infrastructure as a service (IaaS) and

platform as a service (PaaS) offerings to support DoD operations. AR Tab 459 at 176,410. The




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JEDI contract is a firm fixed price, indefinite delivery, indefinite quantity (IDIQ) contract, with a

base period of performance of two years, with options permitting up to 10 years of performance.

Id. The minimum guarantee under the contract is $1 million; the maximum contract value is $10

billion. Id.; AR Tab 485 at 178,612. A full recounting of the factual background of the

procurement is beyond the scope of this motion, but additional detail has been presented in

previous briefing, see, e.g., ECF No. 139, and will be further described in future briefing. A

recounting of the factual background relevant to this motion follows below.

II.    Procedural Background And Statement Of Allegations In The Amended Complaint

       In its amended complaint, AWS advances a variety of allegations in support of its post-

award protest. As is typical in a post-award protest, in Counts One, Two, and Three, AWS

alleges errors in DoD’s evaluation of its and Microsoft’s proposals, as well as in DoD’s best

value award decision. Although we strongly disagree with these allegations, these disagreements

will be the subject of future briefing, as these allegations, though incorrect, appear not to have

been waived by AWS.

       In Count Four, however, AWS goes on to allege that bias and bad faith, exhibited over

the course of several years by the President of the United States, improperly influenced DoD’s

evaluation process and created conflicts of interest. Amended Compl. ¶¶ 401-12. The factual

basis for these allegations was well known to AWS and, as AWS itself repeatedly alleges, to the

public at large, well before DoD made its original October 2019 decision to award the JEDI

contract to Microsoft, and even before the proposal process was complete. Amended Compl.

¶¶ 14, 80-88. According to AWS, President Trump’s alleged bias against AWS, Amazon, and




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Mr. Bezos date to even before the President was elected, Amended Compl. ¶¶ 14, 80, and

continued over the next several years, leading up to the months preceding DoD’s original

decision to award the JEDI contract to Microsoft in October 2019. Amended Compl. ¶¶ 14, 80-

88, 95. But these allegations are largely based on public comments made by President Trump on

July 18, 2019, and by Secretary of Defense Mark Esper on August 1, 2019. Amended Compl.

¶¶ 14, 84-85. Final proposal revisions (FPRs) were not due from offerors until September 5,

2019, and the Source Selection Authority (SSA) did not decide to award the JEDI contract to

Microsoft until October 17, 2019. AR Tab 339 at 151,401; AR Tab 340 at 151,405; AR Tab 459

at 176,417. AWS filed its original complaint on November 22, 2019, nearly three months after

submitting its final proposal revisions, and nearly a month after the award decision was publicly

announced. Compl., ECF No. 1.

       On January 24, 2020, both the United States and Microsoft filed partial motions to

dismiss four counts of AWS’s original complaint, three of which related to AWS’s bias, bad

faith, improper influence, and conflict of interest allegations. See ECF No. 132 (Government

Motion); ECF No. 133 (Microsoft Motion). The United States and Microsoft also moved to

dismiss another count, Count Three, which challenged express terms of the solicitation,

including terms of Amendment 0005 to the solicitation. Id. The allegations raised in Count

Three of the original complaint are absent from AWS’s amended complaint. AWS responded in

opposition to the partial motions to dismiss on February 21, 2020 (ECF No. 168), and the United

States (ECF No. 174) and Microsoft (ECF No. 175) replied in support of their motions on March

6, 2020.




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       Before the Court resolved these motions, the United States moved for a voluntary remand

to DoD, to allow the agency to reconsider certain technical aspects of its evaluations. See ECF

No. 177. The United States expressly stated that “DoD, on remand, will be reconsidering the

technical evaluations that AWS has challenged and will be reconsidering its award decision.”

ECF No. 177 at 3. The United States stated specifically that it would issue a solicitation

amendment and permit limited proposal revisions to address a technical issue regarding which

the Court expressed concern in issuing a preliminary injunction temporarily halting work on the

JEDI contract. Id. at 2. The United States also stated that it would “reconsider its award

decision in response to the other technical challenges presented by AWS.” Id. (emphasis added).

The United States expressed no intention by DoD to take any action on remand to address

AWS’s allegations regarding bias, bad faith, improper influence, or conflict of interest, which the

United States had by then and has consistently since strenuously opposed as baseless. ECF No.

177; see also, e.g., ECF Nos. 139, 140, 143.

       AWS opposed the United States’ motion for voluntary remand. ECF No. 181. In doing

so, however, AWS did not allege that remand proceedings would be tainted by bias, bad faith,

improper influence, or conflict of interest stemming from President Trump’s alleged animosity

toward Amazon and Jeff Bezos. Id. Instead, AWS argued that DoD should be required to permit

it to alter its unit pricing and discounts across the entirety of its proposal, and that DoD should be

required to commit to address each of the technical issues that AWS raised in its protest. Id. In

further briefing on the issue, the United States reiterated that “DoD intends, on remand, to

reconsider its award decision in response to all of the technical challenges presented by AWS,




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without limitation,” ECF No. 185 at 10 (emphasis added), continuing to distinguish between

AWS’s allegations of technical evaluation error and its baseless bias and bad faith allegations. In

the briefing that followed, the United States never represented that it would be redressing these

baseless bias and bad faith allegations as part of its remand proceedings. See ECF Nos. 187,

199. And AWS was explicit in its understanding of actions DoD intended to take on remand,

detailing them in a list that makes no mention of any action to address its claims of bias. ECF

No. 197 at 2. Crucially, AWS never objected to the remand on this basis – it never alleged that

bias so tainted the procurement that it should not be remanded at all, never requested that any

remand require DoD to replace source selection officials it alleged were biased, and never

suggested that DoD should be required to address its bias allegations in any other way. See ECF

Nos. 181, 186, 188, 197.

       On April 17, 2020, the Court granted the United States’ request and remanded the case to

DoD, listing the actions DoD had represented that it intended to take on remand and making no

mention of any action to address AWS’s bias allegations. ECF No. 203. The Court noted that

“[p]laintiff will have an opportunity to raise [allegations concerning corrective action] should it

elect to make a timely challenge to any corrective action defendant takes.” Id. at 4.

       During the remand, DoD issued five amendments to the JEDI solicitation; conducted

discussions with both offerors; and reevaluated proposals. See Amended Compl. ¶¶ 103-06.

AWS and Microsoft submitted three rounds of proposal revisions to DoD for evaluation. Id. At

no time during this process did AWS object, either informally or by filing a formal protest with

the agency, the Government Accountability Office, or this Court, or in any other forum, to the

reevaluation of proposals in the absence of action to address what AWS has alleged is a


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procurement irretrievably tainted by bias, bad faith, improper interference, and conflicts of

interest. AWS was plainly aware of the means available to assert its rights, as it filed an agency-

level protest alleging ambiguity in the terms of solicitation amendments issued by DoD. AR Tab

617 at 181,719-24. DoD determined that a clarification was appropriate, and issued a further

solicitation amendment, granting AWS its requested relief. AR Tab 644 at 193,401. That

protest did not mention AWS’s bias allegations. AR Tab 617.

       The remand concluded after DoD completed its re-evaluations and reaffirmed its decision

to award the JEDI contract to Microsoft. Amended Compl. ¶ 107. The Court denied as moot the

United States’ and Microsoft’s motions to dismiss AWS’s original complaint, ECF No. 223, and

set a schedule for the filing of AWS’s amended complaint and renewed motions to dismiss by

the United States and Microsoft, ECF No. 232.

       On October 23, 2020, AWS filed its amended complaint. ECF No. 236. The amended

complaint, like the original complaint, again alleges that the JEDI award was “the product of

bias, bad faith, improper influence, and/or conflicts of interest.” Amended Compl. ¶ 404. As we

detail above, AWS “supports” this charge chiefly by alleging the same facts that were known to

AWS, and to the public at large, well before the original 2019 decision to award the JEDI

contract to Microsoft. Amended Compl. ¶¶ 14, 80-88. AWS’s amended complaint supplements

these factual allegations in two ways. First, AWS references an investigation completed by the

Department of Defense Office of Inspector General (DoD IG), which was detailed in a report

released to the public on April 15, 2020 – before the remand of this case to DoD was ordered by

the Court. See Amended Compl. at 35 n.5. Despite the report’s plain conclusions undercutting

AWS’s allegations, AWS cherry picks a few statements to paint an entirely misleading picture of


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the report. Amended Compl. ¶¶ 352-56. But after the report’s public release on April 15, 2020,

AWS took no action to renew its allegations of bias or to oppose any remand proceedings or

reevaluations on the basis of alleged bias.

       Second, AWS lards its complaint with a recounting of a panoply of news stories critical

of the Trump administration, each of which has no relation whatsoever to the JEDI procurement

and no relevance to this litigation. Amended Compl. ¶¶ 357-72. With regard to these irrelevant

and unsubstantiated accusations, we note only that AWS, upon learning of each listed allegation,

took no action to renew its allegations of bias or to oppose any remand proceedings or

reevaluations on the basis of alleged bias, prior to filing its amended complaint after learning that

it was again not selected for award of the JEDI contract.

                                           ARGUMENT

I.     The Blue & Gold Fleet Waiver Rule

       In the seminal Blue & Gold Fleet case, the Federal Circuit expressly recognized a waiver

rule in bid protest actions in the Court of Federal Claims, holding that “a party who has the

opportunity to object to the terms of a government solicitation containing a patent error and fails

to do so prior to the close of the bidding process waives its ability to raise the same objection

subsequently in a bid protest action in the Court of Federal Claims.” 492 F.3d at 1313. When

waiver is found, “[d]ismissal is mandatory, not discretionary.” Per Aarsleff A/S v. United States,

829 F.3d 1303, 1317 (Fed. Cir. 2016) (Reyna, J., concurring).

       In announcing the waiver rule, the Federal Circuit relied on the requirement in this

Court’s jurisdictional statute that the Court “shall give due regard to the interests of national




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defense and national security and the need for expeditious resolution of the action.” Blue &

Gold Fleet at 1313 (quoting 28 U.S.C. § 1491(b)(3)) (emphasis added by the Federal Circuit).

Additionally, the Court of Appeals relied on the rationale underlying the doctrine of patent

ambiguity, as applied in the bid protest context. The Court reasoned that a waiver rule was

needed to prevent a contractor from “taking advantage of the government and other bidders” by

strategically waiting to raise solicitation defects until after award, when, if it did not prevail, it

would be able to restart the process, armed with increased knowledge of its competitors. Id. at

1314. In other words, “[v]endors cannot sit on their rights to challenge what they believe is an

unfair solicitation, roll the dice and see if they receive award and then, if unsuccessful, claim the

solicitation was infirm.” Id. (quoting Argencord Mach. & Equip., Inc. v. United States, 68 Fed.

Cl. 167, 175 n.14 (2005)). Moreover, a waiver rule prevents the Government from having to

expend time and resources to conduct a potentially needless procurement decision and then to

engage in “costly after-the-fact litigation” that could have been avoided by the contractor timely

raising any complaints about the competition during the bidding process. Id.

        The Federal Circuit also found support for the waiver rule in the regulation that governs

bid protests before the Government Accountability Office (GAO). Id. As the Court explained, a

GAO regulation “requires that ‘[p]rotests based upon alleged improprieties in a solicitation

which are apparent prior to bid opening or the time set for receipt of initial proposals shall be

filed prior to bid opening or the time set for receipt of initial proposals.’” Id. (quoting 4 C.F.R.

§ 21.1(a)). In light of these strong legal underpinnings and fundamental fairness concerns, the

Court of Appeals recognized the waiver rule that has since drawn its name from the Blue & Gold

Fleet case.


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       Although the waiver rule as stated in Blue & Gold Fleet required that a challenge be

brought before the close of the bidding process, the Federal Circuit later made clear that the rule

extends beyond that date, and encompasses “all situations in which the protesting party had the

opportunity to challenge a solicitation before the award and failed to do so.” COMINT Sys.

Corp. v. United States, 700 F.3d 1377, 1382 (Fed. Cir. 2012). In COMINT, the Court held that

the plaintiff had waived its challenge to a solicitation amendment that, although issued after the

close of the bidding process, was issued two and a half months before contract award, providing

“more than an adequate opportunity to object.” Id. at 1383. The Court held that the plaintiff,

having chosen to wait and see whether it would be awarded the contract rather than promptly

raise its objections, could not then “‘come forward with [its objections] to restart the bidding

process,’ and get a second bite at the apple.” Id. (quoting Blue & Gold Fleet, 492 F.3d at 1314).

The Court found “[t]he same policy underlying Blue & Gold supports its extension to all pre-

award situations.” Id. at 1382.

       Although the waived arguments in both Blue & Gold Fleet and COMINT involved

challenges to solicitation terms, the Federal Circuit has made clear, citing favorably several

decisions of this Court, that when an interested party is aware of a basis to challenge the terms of

a competition – even if that basis is not, strictly speaking, the terms of the solicitation – and has

the opportunity to raise the challenge before award or the close of bidding, it must do so or waive

its challenge. See Inserso Corp. v. United States, 961 F.3d 1343, 1349 (Fed. Cir. 2020). In

Inserso, the Court held that, based on public knowledge about the structure of the challenged

solicitation and a parallel solicitation, the protester knew or should have known of the basis for

its organizational conflict of interest (OCI) and fair and equal treatment claims well prior to


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award, and that it forfeited those claims by not raising them until after the award was made. Id.

at 1350-52. The Court again emphasized its previous holding that its reasoning in Blue & Gold

Fleet “applies to all situations in which the protesting party had the opportunity to challenge a

solicitation before the award and failed to do so.” Id. (citing COMINT Systems Corp. v. United

States, 700 F.3d 1377, 1382 (Fed. Cir. 2012)). Specifically, the Court held that “[t]he Court of

Federal Claims has correctly applied [the Blue & Gold Fleet] rule in organizational-conflict-of-

interest cases, including cases dealing with the disclosure of pricing information during

debriefing.” Id. at 1349 (citation omitted).

        The Court held that “[e]nforcing our forfeiture rule implements Congress’s directive that

courts ‘shall give due regard to ... the need for expeditious resolution’ of protest claims.” Id. at

1352. The Court stressed that, had Inserso raised its concerns during the competitive process, the

agency could have worked to mitigate or eliminate any issue. Id. Permitting Inserso to pursue

its forfeited claims after award would permit it to seek relief it could have gotten from the

agency earlier, before the agency invested significant resources in evaluating proposals. Id. The

Court, therefore, found that Inserso had forfeited its right to relief.

        Although Inserso was perhaps the first time that the Federal Circuit had occasion to apply

the Blue & Gold Fleet rule to claims not expressly directed at solicitation terms, this Court has,

as the Federal Circuit noted approvingly in Inserso, consistently done so over many years. For

example, in Peraton Inc. v. United States, 146 Fed. Cl. 94, 101-03 (2019), this Court applied the

precedential guidance of Blue & Gold Fleet to find that allegations of bad faith conduct by an

agency, as well as a challenge to other proposed terms of corrective action, were waived. The

plaintiff in that case sought to “have its cake and eat it too,” by attempting to graft a challenge to


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newly-proposed corrective action onto a moot challenge to a previous corrective action, while

also moving to stay proceedings until after corrective action was complete. Id. at 101. The

Court recounted the rationale underlying the Blue & Gold Fleet decision, finding that a challenge

to the terms of the competition, whether to the nature of the agency’s corrective action or to

alleged bad faith by the agency inherent in the process, must be brought before the award

decision, not stayed until after that decision is made and pursued only if the plaintiff remains

aggrieved. Id. The “primary thrust” of Peraton’s allegations, like AWS’s in this case, was “that

the agency has acted in bad faith in th[e] procurement,” and thus did not involve a challenge to

solicitation terms but rather the fairness of the competition. Id. at 98.

       Similarly, in Jacobs Technology Inc. v. United States, 131 Fed. Cl. 430 (2017), the Court

made clear that bias allegations must be raised before, rather than after, an award decision is

made. Id. at 447. In that case, two different contractors challenged the agency’s decision to take

corrective action and the scope of the corrective action to be taken. Id. at 435-36. One of the

protesters, the incumbent and unsuccessful offeror, alleged that the agency was biased against it.

Id. The Government argued that the allegations from both protesters were not ripe for review, as

the award decision pursuant to the corrective action had not yet been made. Id. at 446. But the

Court found that, if the unsuccessful party waited until after the award decision had been made to

allege that the terms of competition envisioned by the corrective action, including any alleged

bias, were unfair or improper, it would have waived such allegations under Blue & Gold Fleet.

Id. at 447-48. The Court found that potential waiver of the claim at issue presented sufficient

hardship to warrant judicial review of the allegations prior to the award decision. Id. at 447. The




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allegations, therefore, were ripe for review and properly considered prior to award – and had

they been raised for the first time after award, they would have been waived. Id.

       Indeed, the Court has in many cases found the Blue & Gold Fleet waiver rule applicable

to allegations challenging terms of the competition or evaluation process that were not, strictly

speaking, solicitation terms. Synergy Solutions, Inc. v. United States, 133 Fed. Cl. 716, 740

(2017) (“[T]he language in COMINT Systems expresses a clear, practical intent to expand the

reach of the Blue & Gold Fleet waiver rule to include any defects that could potentially be raised

and resolved prior to the contract award.”); Jacobs Tech., Inc. v. United States, 100 Fed. Cl. 179,

182 n.4 (2011) (“Although [Blue & Gold Fleet] deals with a protester’s objections to terms of the

solicitation, this Court suggests that it raises legitimate concerns for prudent protesters

challenging the solicitation process or the evaluation of offerors’ proposals.”); but see, e.g.,

ATSC Aviation, LLC v. United States, 141 Fed. Cl. 670, 696 (2019) (in challenge to exclusion

from the competitive range, the basis of which was not fully apparent until after award, which

was challenged in the GAO before award, and which would not require reopening the bidding

process or stopping work on the contract to fashion relief, the Court found that “[t]he waiver

doctrine explicated in COMINT and Blue & Gold does not bar ATSC’s protest given the

somewhat unusual setting of this case.”).

       Closely analogous to AWS’s bias and bad faith allegations are allegations that an OCI

taints the procurement. As did the Federal Circuit in Inserso, this Court has applied the Blue &

Gold Fleet waiver rule to OCI allegations. The Court has found that “the rationale of Blue and

Gold leads to the conclusion that a contractor should not be allowed to protest an agency’s

failure to identify and mitigate an OCI when the contractor knew about the alleged OCI from the


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start, but failed to assert it, via protest, prior to the award.” CRAssociates, Inc. v. United States,

102 Fed. Cl. 698, 712 (2011), aff’d, 475 F. App’x 341 (Fed. Cir. 2012). The Court in

CRAssociates explained that “[a] number of cases hold that arguments that should have been

raised prior to an award are waived, even if they do not relate to ambiguities or errors in the

solicitation.” Id. at 712 n.12 (collecting cases). Indeed, the Court has consistently found OCI

allegations to be waived when those allegations were known during the competition but were not

raised until after award. Concourse Group, LLC v. United States, 131 Fed. Cl. 26, 29-30 (2017)

(“Logically, the waiver rule also applies where a protester fails to raise OCI claims before the

close of the bidding process.”); Commc’n. Constr. Servs. v. United States, 116 Fed. Cl. 233, 263-

64 (2014) (finding OCI allegations waived when protester was on notice of the basis of the

allegations prior to award).

        Finally, both this Court and the Federal Circuit have looked to the GAO’s interpretation

of its regulation on the timeliness of protests challenging issues that arise pre-award in applying

the Blue & Gold Fleet waiver rule. Blue & Gold Fleet, 492 F.3d at 1314; COMINT, 700 F.3d at

1383; iAccess Techs., Inc. v. United States, 143 Fed. Cl. 521, 531 (2019) (“[T]he Blue & Gold

Fleet waiver rule is analogous to timeliness restrictions on bid protests brought before the

Government Accountability Office (GAO).”). The GAO has interpreted its timeliness

restrictions to bar allegations of bias by procurement officials when the protester was aware of

the underlying facts giving rise to its bias allegations prior to the closing date for receipt of

proposals, but failed to protest the issue until after award. Adams and Associates, Inc., B-

417120; B-417125, 2019 CPD ¶ 21 (Comp. Gen. Jan. 16, 2019).




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       In allegations that mirror AWS’s, the protester in Adams and Associates alleged that

personnel from the procuring agency’s headquarters were biased against it, and asked the GAO

to order a re-evaluation without any input or interference by these officials. Id. at *2. Although

the protester argued that it could not have brought the challenge prior to the award decision

because it could not establish competitive prejudice absent award to a competitor, the GAO

disagreed. Id. It found that “the factual predicates for [the protester’s] bias and retaliation

allegations were reasonably known to the protester prior to the closing times for proposals.” Id.

Moreover, the GAO reasoned that the bias allegations were “essentially untimely challenges to

the fundamental ground rules for the procurements,” id. at *1, and that “challenges which go to

the heart of the underlying ground rules by which a competition is conducted should be resolved

as early as practicable during the solicitation process, but certainly in advance of an award

decision if possible, not afterwards.” Id. (citation omitted). Citing Blue & Gold Fleet, the GAO

found that:

               Such a rule promotes fundamental fairness in the competitive
               process by preventing an offeror from taking advantage of the
               government as well as other offerors, by waiting silently only to
               spring forward with an alleged defect in an effort to restart the
               procurement process, potentially armed with increased knowledge
               of its competitors’ position or information.

Id. The GAO also explained that the rule “promotes efficiency by ensuring that concerns

regarding a solicitation are raised before contractor and government resources are expended in

pursuing and awarding the contract, thus avoiding costly and unproductive litigation after the

fact.” Id.




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       As in this case, the GAO in Adams and Associates found that “the protester’s allegations

are premised on the notion that the procurement processes in place were so flawed, or corrupted,

that they could not yield fair and proper results.” Id. at *3. The GAO concluded that its rules do

not permit a protester “to wait to raise a fundamental flaw with the procurement process until

after an award decision has been made,” and dismissed the claims as untimely. Id.

II.    AWS Has Waived Count Four Of Its Amended Complaint

       The precedential waiver rule announced in Blue & Gold Fleet operates to bar the

allegations contained in Count Four of AWS’s amended complaint, alleging bias, bad faith,

improper influence, and/or conflict of interest. AWS’s own pleadings make clear that it was

aware of the factual predicates of these allegations prior to the date final proposals were due, and

well before the award decision was made. Because AWS chose not to raise its allegations at that

time but instead to “roll the dice” and see if it were selected for award, it has waived the right to

bring these untimely allegations after the award decision has been made. AWS’s wait-and-see

approach here raises the precise moral hazard that the Blue & Gold Fleet waiver rule was

instituted to combat, and the Court should dismiss these allegations.

       The agency’s decision to seek a voluntary remand to address technical aspects of the

procurement unrelated to AWS’s bias allegations in no way operates to cure AWS’s waiver of

these allegations, which took effect when it failed to bring the allegation prior to submitting its

original final proposal revisions or before the October 2019 award decision. And even if the

remand and corrective actions subsequently undertaken by DOD afforded AWS another

opportunity to press its bias allegations before the agency or in some other forum, AWS again




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elected not to do so, again waiving the right to pursue these allegations now, only after learning

that it was once again not selected for award.

       A.      AWS Waived The Allegations Of Count Four By Failing To Bring Them Prior To
               The Original October 2019 Award

       In Count Four of its amended complaint, AWS alleges that DoD’s decision to award the

JEDI contract to Microsoft is “the product of pervasive and continuing undue influence, bias, and

bad faith against AWS.” Amended Compl. ¶ 339, see also Amended Compl. ¶¶ 401-12. But

essentially all of the factual allegations on which AWS premises this conclusion were known to

AWS well before it submitted its original final proposal in September 2019, and well before the

original award decision in October 2019. Because AWS failed to bring these allegations to the

agency, to GAO, or to the Court prior to that time, AWS waived its opportunity to have this

Court entertain those allegations and they should be dismissed.

               1.      AWS Was Aware Of The Basis Of Its Allegations Prior To Award

       AWS alleges a course of conduct by the President, beginning even before he was elected,

publicly exhibiting a “deep personal dislike for Mr. Bezos, Amazon, and the Washington Post,”

and an “express desire to harm them.” Amended Compl. ¶ 14. AWS goes on to detail a string of

public comments and other alleged behavior by President Trump or others associated with him,

both before the JEDI procurement had begun and as it progressed, to manifest this alleged

animus. Amended Compl. ¶¶ 14, 80-88. In particular, AWS focuses on a press conference held

on July 18, 2019, during which, with alleged reference to the JEDI procurement, the President

stated that he “would personally ‘ask [DoD] to look at it very closely to see what’s going on.’”

Amended Compl. ¶¶ 14, 84. AWS links this allegation with an announcement by then newly-



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confirmed Secretary of Defense Mark Esper on August 1, 2019, that he was ordering a review of

the JEDI procurement. Amended Compl. ¶ 14, 85. These comments occurred before the final

proposal revisions were due on September 5, 2019, and before the award decision was made on

October 17, 2019, yet AWS did not raise any complaint about the potential for bias until filing its

original complaint on November 22, 2019. AR Tab 339 at 151,401; AR Tab 340 at 151,405; AR

Tab 459 at 176,417.

       AWS characterizes the statements from the President as “making clear to DoD (and to the

world) that he did not want AWS to get the JEDI Contract.” Amended Compl. ¶ 83. AWS’s

allegations make clear that AWS, along with the rest of the world, was on notice well before the

original award decision of the factual basis for the allegations of bias that AWS now pursues in

this Court. If AWS believed that the competition was impermissibly tainted by this publicly

proclaimed bias, as it now alleges, it was required to bring those allegations at the time the

statements were made. Moreover, AWS still alleges no clear link between the President and the

source selection officials. Rather, the gravamen of AWS’s allegation, though it has denied it

and, in a transparent attempt to avoid the consequences of its waiver, removed some of the

broadest allegations of its original complaint from its amended complaint, is that the President’s

public comments were of such a nature as to irreparably taint any evaluator. See, e.g., Amended

Compl. ¶ 89; Compl., ECF No. 1, at ¶ 20. Under this theory, however, AWS had all the

information it needed to raise a challenge prior to the award, but instead waited to see if it might

be selected anyway. The law does not permit this strategy, and the Court should dismiss Count

Four of AWS’s amended complaint.




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               2.      Count Four Challenges The Procurement Process, Not Evaluations

       In its response to our original motion to dismiss, AWS argued that its allegations did not

challenge a biased procurement process, but rather were properly understood as challenges to

DoD’s evaluations of AWS’s and Microsoft’s proposals. See ECF No. 168 at 6-9. This claimed

distinction is, in fact, no distinction at all. In Count Four, AWS does not challenge any particular

evaluations or decisions by DOD, but rather the circumstances under which those evaluations

and these decisions were made, which AWS alleges were systematically tainted by the public

statements of the President and his associates. To the extent that the Court finds any particular

evaluations or tradeoffs to be flawed, it can address those concerns through the counts that

challenge those decisions directly. AWS’s claims in Count Four are conceptually identical to the

bias and OCI cases we discuss above, where the challenge is to an alleged atmosphere that

resulted in an award decision tainted by bias or a conflict of interest. There, as here, any effect of

the bias or OCI would necessarily manifest in evaluations and the award decision, but that does

not mean that these allegations are “evaluation challenges” that can only be raised post-award. If

the Court were to allow AWS to avoid the effect of the Blue & Gold Fleet waiver rule merely by

recasting its allegations as evaluation challenges, the rule would collapse, as nearly any plaintiff

could reframe its challenge as not taking issue with the terms of a solicitation or competition, but

with the way the agency applied those terms in evaluating its proposal or that of its competitor.

               3.      AWS Could Have Brought Its Bias Allegations Prior To Award

       In its response to our original motion to dismiss, AWS attempted to avoid the

consequences of its waiver by arguing that it could not have brought its allegations of bias earlier

because they were not ripe until Microsoft was awarded the contract, and because any defects


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were latent, not patent, and foretold an imaginary flood of premature protests if the Court were to

grant our motion. See ECF No. 168 at 17-23. These allegations do not accord with the law, with

the facts, or even with AWS’s own allegations.

       AWS argued that it could not have brought its bias allegations prior to award, because

only the award decision was a “final agency action” that could give rise to a ripe bid protest.

ECF No. 168 at 17-19. Unlike the Administrative Procedure Act, however, bid protest

jurisdiction under the Tucker Act does not require “final agency action,” but is premised on an

“alleged violation of statute or regulation in connection with a procurement or a proposed

procurement.” 28 U.S.C. § 1491(b)(1); Distributed Sols., Inc. v. United States, 539 F.3d 1340,

1344 (Fed. Cir. 2008); see also Itility, LLC v. United States, 124 Fed. Cl. 452, 461 n.12 (2015)

(recognizing that the APA’s “final agency action” requirement “was not incorporated into” the

bid protest statute); CBY Design Builders v. United States, 105 Fed. Cl. 303, 336 (2012)

(“Congress has specifically placed matters within our bid protest jurisdiction that seem

incompatible with an APA ‘final agency action’ definition that rules out the ‘tentative or

interlocutory.’”).

       Among countless other examples of protests that the Court has considered ripe challenges

short of a final award decision are the OCI and bias cases discussed above, in many of which the

challenge was to the absence of an action by the agency to identify and mitigate a conflict of

interest or bias that was alleged to have impacted the fairness of the evaluation. AWS was aware

of the facts upon which it bases its claims of bias before it submitted its final proposal and well

before the award decision. That its claims are speculative is a function of their inherent




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weakness and lack of factual substantiation, not an indication that they suddenly ripened into

actionable claims in the wake of a decision to award the contract to Microsoft.

       AWS also argued that no redress would have been available to it had it brought its bias

claims prior to award. ECF No. 168 at 19-20. But had AWS raised its claims in a timely

fashion, DoD could have investigated the allegations and evaluated the need to redress any

problems created by the public commentary cited by AWS. AWS mocked this idea, arguing that

it could not have plausibly sought “removal” of the President or Secretary of Defense. Id. But

that is no less true now, and is a major flaw in AWS’s entire theory of this litigation – if the

President’s public comments created a bias and conflict of interest that infected the ability of any

executive branch employee to fairly evaluate proposals in this procurement, then how could this

Court within its authority fashion relief to address such a circumstance? To the extent that AWS

contends that this Court can fashion meaningful relief, however, then DoD could have

considered implementing the same relief earlier had AWS timely raised its concerns with the

agency. By electing not to disclose its concerns earlier, AWS denied DoD the opportunity to

consider the need for any corrective measures and has waived its right now to seek such relief.

               4.      AWS’s Own Allegations Demonstrate That Any Defect Was Patent

       AWS additionally argued that any defect in the procurement process was latent, rather

than patent, and thus could not have been brought pre-award. ECF No. 168 at 21-24. But this is

just another attempt by AWS to recast its claims as a challenge to DoD’s particular decisions

rather than to the terms of the competition overall and fails for the reasons discussed above.

AWS’s attempt to recast its claims of bias is no different than the arguments made by countless

other protesters who have sought to avoid waiver and that have been rejected by this Court under


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the central logic of Blue & Gold Fleet – that an offeror may not identify an issue, wait to see if it

is selected for award, and only if it is not selected raise the issue in a belated attempt to stop the

award. AWS’s claims of bias unquestionably rely on information of which it was aware prior to

award, and these allegations are therefore waived.

                5.      No Flood Of Litigation Would Result From A Finding Of Waiver

        Finally, in its opposition to our original motion to dismiss, AWS speculated that a “flood

of litigation,” challenging every Presidential tweet or negative news cycle, would result from a

finding that it has waived its bias claims here. ECF No. 168 at 17, 20-21. But not every

company is so rash as to presume that Government officials will be biased against it based on the

President’s public comments. AWS conflates the weakness of its allegations, and their lack of

connection to the actual DoD personnel who made the evaluations and award decisions in this

case, with the claimed risks of finding a waiver. If it is unreasonable to expect a company to file

a bid protest alleging bias following a Presidential tweet, that is not because such a claim is

premature, but because there is no basis to allege that professional Government procurement

officials would violate their ethical and legal duties based on a tweet, even one from the

President.

        B.      Even If The Remand Provided AWS Another Opportunity To Raise The
                Allegations Of Count Four, It Again Failed To Do So Prior To The Award
                Decision

        As described above, in the wake of the Court’s decision to issue a preliminary injunction

based on its preliminary assessment of AWS’ claims about certain technical aspects of the JEDI

procurement, the United States sought a voluntary remand to address those technical issues.

AWS’s protest, however, remained pending; DoD’s voluntary remand to address technical issues


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wholly unrelated to AWS’s bias allegations in no way cured AWS’s waiver of those allegations

by failing to raise them prior to DoD’s original October 2019 decision to award the JEDI

contract to Microsoft. In describing the scope of DoD’s remand and the corrective actions it was

considering, the United States consistently emphasized that DoD intended to reevaluate AWS’s

technical allegations – we never made any representation that DoD would take action to address

AWS’s bias allegations, which it considered to be without merit. As such, the remand did not

alter the facts underlying AWS’s waiver of its allegations – it was aware of the basis of its

allegations prior to award, yet failed to raise the allegations until after award.

       However, even if the Court were to view the remand and resulting corrective actions

taken by DoD as another opportunity for AWS to raise its bias allegations, AWS once again

elected to waive any such opportunity. Yet again, AWS failed to raise these allegations in any

fashion with the agency, the Court, or any other forum prior to DOD’s reaffirmation of its prior

award decision.

       In Jacobs Technology Inc., this Court found that a party’s argument that proposed

corrective action was not broad enough to address its claims of bias needed to be raised before

the corrective action was completed or it would have been waived under Blue & Gold Fleet. 131

Fed. Cl. at 447-448. This Court has also held that “when analyzing whether a plaintiff has

waived its pre-award protest grounds, ‘the proper inquiry is to assess whether a party has timely

pursued an alleged defect in a solicitation as allowed by law, and whether the party has diligently

pressed its position without waiver at each step of the way.’” Harmonia Holdings Grp., LLC v.

United States, 147 Fed. Cl. 749, 753 (2020) (quoting DGR Associates v. United States, 94 Fed.

Cl. 189, 204 (2010)); see also Peraton, 146 Fed. Cl. at 102 (citing as evidence of waiver the fact


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that “[p]laintiff did not file a protest, or the equivalent of a protest, of the [agency’s] revised

corrective action when it filed its motion for leave to supplement the complaint and its motion to

stay proceedings.”); Anham FZCO v. United States, 144 Fed. Cl. 697, 722 (2019) (“Plaintiff

impermissibly ‘s[a]t on its rights’ by failing to object to [the agency’s] prior treatment of the . . .

contract termination before the second contract award, and has now waived its right to do so.”)

(citing Blue & Gold Fleet, 492 F.3d at 1314).

        If AWS were truly concerned that DoD evaluators and source selection officials were

biased as a consequence of President Trump’s alleged public antipathy toward AWS’s parent

company and its founder, one would have expected AWS to have filed a protest objecting to any

corrective action that did not include measures designed to address those concerns. AWS,

however, did no such thing. Although it opposed the remand, it never once suggested that its

opposition was based on continuing concerns of bias as alleged in its original complaint. See

ECF Nos. 181, 186, 188, 197. Instead, AWS opposed the remand because it wanted DoD to

engage in broader corrective action than DoD contemplated, arguing that DoD should be

specifically required to commit to address each of the technical issues that AWS raised in its

protest, and to permit AWS to broadly alter its unit pricing and discounts across its proposal.

The United States was consistent and clear in its representations that DoD, on remand, would

address only technical issues, and never represented that it would take measures to address

AWS’s baseless bias claims. See ECF Nos. 177, 187, 199. AWS plainly understood DoD’s

intent to limit any corrective action to technical issues, see ECF No, 197 at 2, and the Court

expressed the same understanding. ECF No. 203. Indeed, the Court expressly reminded AWS

that it would “have an opportunity to raise [allegations concerning corrective action] should it


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elect to make a timely challenge to any corrective action defendant takes.” Id. at 4. AWS

declined this opportunity.

        AWS did not raise any objection on the basis of its claims of bias either to the

Government’s request for a remand or during the course of DoD’s corrective action on remand.

Instead, AWS fully participated, without any such objection, in the re-evaluation process,

submitting several rounds of proposal revisions along the way. AWS no doubt hoped that it

would be selected for award, and held any concerns it might have had in abeyance until after it

learned whether it would be selected. This, however, is precisely the strategic gambit that is

prohibited by Blue & Gold Fleet.

        AWS even demonstrated its willingness to assert its rights where it perceived unfairness

in the process, filing an agency-level protest alleging ambiguity in the terms of solicitation

amendments issued by DoD. AR Tab 617 at 181,719-24. DoD determined that a clarification

was appropriate, and issued a further solicitation amendment, granting AWS its requested relief.

AR Tab 644 at 193,401. This is the process the Federal Circuit intended offerors to use when it

issued its opinion in Blue & Gold Fleet. AWS denied DoD the opportunity similarly to consider

whether it could undertake any additional measures to resolve AWS’s bias concerns because

AWS did not raise those concerns, or identify any additional steps it believed DoD should take in

light of those concerns, in its agency level protest. AR Tab 617.

        To avoid the consequences of it repeated failure to press its bias allegations at any point

in time when the agency could act to address them, AWS alleges that “[a]fter DoD resolved the

initial improprieties in the implementation of its corrective action . . . [it], in effect, had a clean

slate from which it could reevaluate proposals in accordance with the RFP and remove any


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semblance of bias, bad faith, or improper influence from the evaluation process.” Amended

Compl. ¶ 403. But, as we describe above, AWS continues to allege the same facts as the basis

for its bias allegations, the vast majority of which were known to AWS and to the public at large

well before the original 2019 decision to award the JEDI contract to Microsoft. Amended

Compl. ¶¶ 14, 80-88. Evaluations with which AWS disagrees, or DoD’s assessment that

Microsoft proposed a superior product that offers better value to DoD, are in no way evidence

that DoD was biased against AWS or toward Microsoft. See Info. Tech. & Applications Corp. v.

United States, 316 F.3d 1312, 1323 n.2 (Fed. Cir. 2003) (finding that plaintiff’s “contentions that

the [agency] erred in evaluating the proposals” are “not evidence of bias.”).

       Instead, AWS’s actual “evidence” for its bias allegations amounts to public statements,

most of which are wholly unrelated to the JEDI procurement and nearly all of which were made

well before the October 2019 award decision, by President Trump and his associates. The only

information AWS learned after October 2019 is either wholly irrelevant to the JEDI

procurement, see, e.g., Amended Compl. ¶¶ 357-73, or was contained in the DoD IG report that

was publicly released on April 15, 2020, see, e.g., Amended Compl. ¶¶ 352-56. Leaving aside

that the DoD IG report does not support AWS’s allegations of bias, AWS, along with the public

at large, was aware of the content of the report months prior to AWS submitting three rounds of

proposal revisions during the remand proceedings, and nearly five months prior to DoD’s

reaffirmation of its decision to award the JEDI contract to Microsoft. If AWS believed that the

content of the DoD IG report evidenced bias by DoD source selection officials, it had an

obligation under Blue & Gold Fleet to raise an objection based thereon prior to submitting

proposal revisions. DoD would then have had an opportunity to consider whether there were


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steps it could take to try to resolve AWS’s concerns. The law does not permit the gambit AWS

chose instead – to “roll the dice,” wait and see whether it would be selected for award, and only

if it was not selected argue to this Court that this information shows that DoD was biased against

it, as evidenced by a list of technical judgments with which AWS disagrees.

       AWS’s technical challenges to DoD’s evaluations and best value judgments, though

incorrect, are properly before this Court for review, and will be addressed in future briefing.

AWS’s allegations of bias, bad faith, improper influence, and conflict of interest, on the other

hand, are waived under Blue & Gold Fleet and should be dismissed.

                                         CONCLUSION

       For these reasons, the United States respectfully requests that the Court dismiss Count

Four of the amended complaint, because AWS has waived the allegations contained therein.

                                                  Respectfully submitted,

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